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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


 ROBERT HUTCHENSON,
                                                    Case No.: 20-cv-1984
                 Plaintiff,

        v.

 STEIN MART, INC., JAY STEIN, D. HUNT
 HAWKINS, MARYANN MORIN, IRWIN
 COHEN, THOMAS L. COLE, TIMOTHY
 COST, LISA GALANTI, RICHARD L.
 SISISKY, and BURTON M. TANSKY,

                 Defendants.


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action.

Dated: April 27, 2020

                                           MOORE KUEHN, PLLC
                                           /s/Justin Kuehn
                                           Justin A. Kuehn
                                           Fletcher W. Moore
                                           30 Wall Street, 8th floor
                                           New York, New York 10005
                                           Tel: (212) 709-8245
                                           jkuehn@moorekuehn.com
                                           fmoore@moorekuehn.com

                                           Attorneys for Plaintiff
